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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  (TEXARKANA DIVISION)



GHJ HOLDINGS, LLC,                            §
         Plaintiff,                           §
v.                                            §      CASE NO. 5:11-cv-00060
                                              §
BUTLER CREEK CORP. AND                        §
BUSHNELL INC.,                                §
          Defendant.                          §
                                              §
                                              §

                           ORDER ON STIPULATED DISMISSAL

       The Court, having considered the Motion for Stipulated Dismissal filed by the Parties

herein, finds that the Parties have reached a settlement and that this action should be dismissed

with prejudice to re-filing of same.

       The Court hereby HOLDS and ORDERS that any and all claims by GHJ Holdings, on

behalf of itself, the United States, and the general public, regarding Defendant’s alleged violation

of 35 U.S.C. § 292 by marking, affixing to or using in advertising in connection with any article,

the word “patent” or any word or number importing that the same is patented under the U.S.

Patents identified in the plaintiff’s pleadings are fully resolved and hereby dismissed with

prejudice.

       The Court hereby HOLDS and ORDERS that compliance with the terms of the

Settlement Agreement between the Parties fully resolves any issue relating to Defendants’

marking of products with the word “patent” or any word or number importing that the same is

patented under the U.S. Patents identified in the plaintiff’s Third Amended Complaint.
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           The Court hereby HOLDS and ORDERS that Defendants and those acting in concert

    therewith and/or selling products manufactured by Defendants shall have a reasonable period of

    time to sell all or otherwise dispose of inventory marked with the word “patent” or any word or

    number importing that the same is patented under the U.S. Patents identified in the plaintiff’s

    Third Amended Complaint without further liability under 35 U.S.C. § 292.
.
           The Court hereby HOLDS and ORDERS that the claims asserted in this action by GHJ

    Holdings on behalf of itself, the United States and the general public are hereby dismissed with

    prejudice.


          SIGNED this 30th day of March, 2011.




                                                         ____________________________________
                                                         DAVID FOLSOM
                                                         UNITED STATES DISTRICT JUDGE




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